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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD EVANS                                        :               CIVIL ACTION
INDIVIDUALLY AND AS ADMINISTRATOR                    :
OF THE ESTATE OF MELISSA EVANS,                      :
DECEASED                                             :
                                                     :
       v.                                            :
                                                     :
LUCKY DOG ENTERPRISES LLC,                           :               NO. 16-cv-109
trading as                                           :
WHITE DOG CAFE                                       :


                                              ORDER

        AND NOW, this 9th day of March 2017, it having been reported that the issues between
the parties in this matter have been settled, and pursuant to the provisions of Rule 41.1(b) of the
Local Rules of Civil Procedure, it is hereby ORDERED that this matter is DISMISSED with
prejudice. It is further ORDERED that all pending motions are DENIED as moot. The Clerk of
Court is directed to statistically close this matter.



                                      KATE BARKMAN, Clerk of Court




                                              By: /s/ Mia Harvey
                                                 Mia Harvey
                                                 Civil Deputy to Judge Legrome D. Davis
